               Case 20-10166-JTD           Doc 209      Filed 02/19/20       Page 1 of 16




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                      Chapter 11

In re:                                                Case No. 20-10166 (JTD)

LUCKY’S MARKET PARENT                                 (Jointly Administered)
COMPANY, LLC, et al.,1
                                                      Re: Docket No. 186
                         Debtors.
                                                      Objection Deadline: February 19, 2020 at 11:00 a.m. ET
                                                      Hearing Date: February 19, 2020 at 11:00 a.m. ET

          LIMITED OBJECTION OF BENDERSON DEVELOPMENT CO., LLC,
         REGENCY CENTERS, L.P., SITE CENTERS CORP., AND TLM REALTY
            CORP. TO MOTION OF DEBTORS FOR ENTRY OF AN ORDER
                    APPROVING GLOBAL BID PROCEDURES

                 Benderson Development Co., LLC, Regency Centers, L.P., SITE Centers Corp.,

and TLM Realty Corp. (collectively, the “Landlords”), by and through their undersigned

counsel, Kelley Drye & Warren LLP, submit this limited objection (the “Objection”) to the

Motion of Debtors for Entry of (I) an Order (A) Approving Global Bid Procedures in Connection

with the Sale of the Remainder of Debtors’ Assets, (B) Scheduling an Auction and Sale Hearing,

(C) Approving the Form and Manner of Notice Thereof, (D) Approving Procedures for the

Assumption and Assignment of Contracts and Leases, and (E) Granting Related Relief; and (II)

an Order (A) Approving the Sale of the Remainder of the Debtors’ Assets Free and Clear of All


1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are Lucky’s Market Parent Company, LLC (2055), Lucky’s Farmers Market
         Holding Company, LLC (5480), Lucky’s Market Operating Company, LLC (7064), LFM Stores LLC
         (3114), Lucky’s Farmers Market, LP (0828), Lucky’s Farmers Market Resource Center, LLC (7711),
         Lucky’s Market Holding Company 2, LLC (0607), Lucky’s Market GP 2, LLC (9335), Lucky’s Market 2,
         LP (8384), Lucky’s Market of Longmont, LLC (9789), Lucky’s Farmers Market of Billings, LLC (8088),
         Lucky’s Farmers Markets of Columbus, LLC (3379), Lucky’s Farmers Market of Rock Hill, LLC (3386),
         LFM Jackson, LLC (8300), Lucky’s Farmers Market of Ann Arbor, LLC (4067), Lucky’s Market of
         Gainesville, LLC (7877), Lucky’s Market of Bloomington, LLC (3944), Lucky’s Market of Plantation,
         LLC (4356), Lucky’s Market of Savannah, GA, LLC (1097), Lucky’s Market of Traverse, City, LLC
         (2033), Lucky’s Market of Naples, FL, LLC (8700), and Sinoc, Inc. (0723).
.
               Case 20-10166-JTD        Doc 209      Filed 02/19/20    Page 2 of 16




Liens, Claims, Encumbrances, and Interests, (B) Authorizing the Assumption and Assignment of

Contracts and Leases, and (C) Granting Related Relief (the “Motion”)2 filed by the above-

captioned debtors (the “Debtors”). In support of this Objection, the Landlords respectfully state

as follows:3

                                 PRELIMINARY STATEMENT

               1.        The Debtors’ new proposed timeline includes the following dates:

                   Date                                            Event
    March 19, 2020 at 4:00 p.m. (ET)          Bid Deadline
    March 24, 2020 at 10:00 a.m. (ET)         Auction
    Conclusion of Auction                     Debtors to file Notice of Successful Bidder
    March 24, 2020                            Debtors to provide Successful Bidder’s adequate
                                              assurance information to counterparties
    Two business days after Auction, but      Deadline to object to adequate assurance
    before Sale Hearing
    March 26, 2020 (time TBD)                 Sale Hearing

The Landlords object to this proposed sale process because it deprives them of any reasonable

opportunity to review and analyze the financial condition and operating performance of any

proposed assignee(s) and prepare an objection, if necessary.          The Landlords submit this

Objection to request a fair amount of time to assess any proposed assignee(s) for their leases.

                                         BACKGROUND

               2.        The Landlords are the owners or managing agents for the owners of

numerous shopping centers located throughout the United States. The Debtors lease retail space

from the Landlords pursuant to written leases (each a “Lease” and, collectively, the “Leases”) for

the stores at the locations listed on the attached Exhibit A (collectively, the “Leased Premises”).

The Leased Premises are located in shopping centers as that term is used in section 365(b)(3) of

the Bankruptcy Code. See In re Joshua Slocum, Ltd., 922 F.2d 1081 (3d Cir. 1990).


2
       Docket No. 186.

                                                 2
              Case 20-10166-JTD             Doc 209        Filed 02/19/20        Page 3 of 16




               3.       On January 27, 2020 (the “Petition Date”), the Debtors filed voluntary

petitions for relief pursuant to chapter 11 of the Bankruptcy Code with this Court.

               4.       The Debtors remain in possession of their properties and continue to

manage their businesses as debtors-in-possession pursuant to sections 1107 and 1108 of the

Bankruptcy Code.

               5.       Between January 21 and February 4, 2020, the Debtors filed six bidding

procedures motions, each styled as a Motion of Debtors for Entry of (I) an Order (A) Approving

Bid Procedures in Connection with the Potential Sale of Certain of the Debtors’ Assets, (B)

Scheduling an Auction and a Sale Hearing, (C) Approving the Form and Manner of Notice

Thereof, (D) Authorizing the Debtors to Enter into the Stalking Horse Agreement, (E) Approving

Bid Protections, (F) Approving Procedures for the Assumption and Assignment of Contracts and

Leases, and (G) Granting Related Relief; and (II) an Order (A) Approving the Sale of Certain of

the Debtors’ Assets Free and Clear of All Liens, Claims, Encumbrances, and Interests, (B)

Authorizing the Assumption and Assignment of Contracts and Leases, and (C) Granting Related

Relief, in connection with proposed sales to Publix Super Markets, Inc.,4 Aldi Inc.,5 Seabra

Foods XIV, Inc.,6 LM Acquisition Co. LLC,7 Winn-Dixie Stores, Inc.,8 and Carlos Alvarez9

(collectively, the “Bid Procedures Motions”).

               6.       On February 12, 2020, the Landlords objected to the Bid Procedures

Motions by filing the Omnibus Limited Objection of Benderson Development Company, LLC,

Regency Centers, L.P., SITE Centers Corp., and TLM Realty Corp. to Debtors’ Motions for


3
       Capitalized terms used, but not defined, herein shall have the meanings ascribed to them in the Motion.
4
       Docket No. 63, filed January 3, 2020.
5
       Docket No. 71, filed January 31, 2020.
6
       Docket No. 72, filed January 31, 2020.
7
       Docket No. 73, filed January 31, 2020.
8
       Docket No. 97, filed February 4, 2020.
9
       Docket No. 98, filed February 4, 2020.

                                                       3
             Case 20-10166-JTD           Doc 209      Filed 02/19/20   Page 4 of 16




Orders Approving Bid Procedures in Connection with the Potential Sale of Certain of the

Debtors’ Assets.10

               7.        On February 13, 2020, the Debtors filed the Motion. The Motion seeks to

establish, among other things, global bidding procedures (the “Bidding Procedures”) for the sale

of the Debtors’ assets, including the Leases, procedures for the assumption and assignment (the

“Assignment Procedures”) of the Leases to the party (the “Proposed Assignee”) with the highest

and best bid at an auction, procedures (the “Cure Procedures”) for the cure of defaults under the

Leases, and a timeline for the bidding and sale process.

                                           ARGUMENT

I.     THE BIDDING PROCEDURES

       (A)     The Bidding Procedures Should Require That Bidders Timely Provide
               Adequate Assurance Of Future Performance Information To Be Considered
               “Qualified Bidders”

               8.        In connection with the assumption and assignment of leases, shopping

center landlords are afforded special statutory protections under the Bankruptcy Code in the form

of adequate assurance of future performance. In re Joshua Slocum, 922 F.2d 1086; In re Trak

Auto Corp., 277 B.R. 655 (Bankr. E.D. Va. 2002). Section 365(f)(2) provides:

               The trustee may assign an executory contract or unexpired lease of
               the debtor only if1

                  (A) the trustee assumes such contract or lease in accordance
               with the provisions of this section; and

                   (B) adequate assurance of future performance by the assignee
               of such contract or lease is provided, whether or not there has been
               a default in such contract or lease.

11 U.S.C. § 365(f)(2).

               9.        Section 365(b)(1) of the Bankruptcy Code further provides:


10
       Docket No. 174.

                                                  4
             Case 20-10166-JTD        Doc 209      Filed 02/19/20    Page 5 of 16




              If there has been a default in an executory contract or unexpired
              lease of the debtor, the trustee may not assume such contract or
              lease unless, at the time of assumption of such contract or lease,
              the trustee1

                 (A) cures, or provides adequate assurance that the trustee will
              promptly cure, such default…;

                  (B) compensates, or provides adequate assurance that the
              trustee will promptly compensate, a party other than the debtor to
              such contract or lease for any actual pecuniary loss to such party
              resulting from such default; and

                 (C) provides adequate assurance of future performance under
              such contract or lease.

11 U.S.C. § 365(b)(1).

              10.    In connection with a shopping center lease, adequate assurance of future

performance includes adequate assurance

              (A)     of the source of rent… due under such lease, and in the
              case of an assignment, that the financial condition and operating
              performance of the proposed assignee… shall be similar to the
              financial condition and operating performance of the debtor…as of
              the time the debtor became the lessee under the lease;

              (B)    that any percentage rent due under such lease will not
              decline substantially;

              (C)    that assumption or assignment of such lease is subject to all
              the provisions thereof, including (but not limited to) provisions
              such as a radius, location, use, or exclusivity provision…, and

              (D)    that assumption or assignment of such lease will not disrupt
              any tenant mix or balance in such shopping center.

11 U.S.C. § 365(b)(3).

              11.    The Debtors bear the burden of proving adequate assurance of future

performance in connection with the potential assumption and assignment of the Leases. In re

F.W. Restaurant Assoc., Inc., 190 B.R. 143 (Bankr. D. Conn. 1995); In re Rachels Indus. Inc.,




                                               5
             Case 20-10166-JTD         Doc 209      Filed 02/19/20    Page 6 of 16




109 B.R. 797, 802 (Bankr. W.D. Tenn. 1990); In re Lafayette Radio Electronics Corp., 12 B.R.

302, 312 (Bankr. E.D.N.Y. 1981).

              12.     While the proposed bidding procedures require bidders to demonstrate

their financial capacity and provide adequate assurance of future performance information in

connection with the potential assumption and assignment of the Leases, the procedures do not

sufficiently specify the type of information that is necessary to do so. The bidding procedures

should provide that bidders are required to submit all of the following items (collectively, the

“Adequate Assurance Information”):

              a.      The exact name of the entity that will be designated as the
                      Proposed Assignee of the Leases and any guarantor;

              b.      Audited (or un-audited, if audited is not available) financial
                      statements and any supplemental schedules for the calendar
                      or fiscal years ended 2017, 2018, and 2019 for both the
                      Proposed Assignee and any guarantors;

              c.      Any and all documents regarding the Proposed Assignee’s
                      and any guarantor’s experience operating grocery stores in
                      shopping centers;

              d.      The number of grocery stores the Proposed Assignee and
                      any guarantor operates and all trade names used;

              e.      The Proposed Assignee’s and any guarantor’s 2020 and
                      2021 business plans including sales and cash flow
                      projections; and

              f.      Any financial projections, calculations, and/or financial
                      pro-formas prepared in contemplation of purchasing the
                      Leases.

The Landlords may also need similar information for the Debtors in the years when the Debtors

entered into the Leases to appropriately evaluate the ability of a Proposed Assignee to provide

adequate assurance of future performance.




                                                6
              Case 20-10166-JTD        Doc 209       Filed 02/19/20     Page 7 of 16




               13.     The Bidding Procedures should require that, in order to be considered a

Qualified Bidder, a potential bidder must be required to submit the Adequate Assurance

Information by the Bid Deadline.        The Debtors should then be required to forward that

information by e-mail to the Landlords and their counsel within twenty-four (24) hours of

receiving it and, in any event, no later than twenty-four (24) hours after the Bid Deadline. As to

a proposed lease assumption and assignment that is contested by a Landlord, the Sale Hearing

should proceed only as a status conference. A full evidentiary hearing, if necessary, should be

set to occur no sooner than twenty-one (21) calendar days after the Sale Hearing.

               14.     Furthermore, the Landlords should be required to keep confidential any

financial information from a potential assignee and the Landlords should be permitted to file an

objection to such information, if necessary, under seal without further order of the Court.

       (B)     The Bidding Procedures Should Permit The Landlords To Attend The
               Auction And Submit Bids For Their Respective Leases

               15.     To the extent that the Debtors seek to assume and assign any of the Leases

pursuant to the Bidding Procedures, the Landlords should be permitted to submit bids for their

respective Leases and should not be required to comply with the bid requirements, such as the

provision of a cash deposit. Bids from landlords typically benefit the bankruptcy estate because

they absolve the Debtors of liability for the rejection damages that could be due to the applicable

landlord under section 502(b)(6) of the Bankruptcy Code.              Therefore, Landlords should

automatically be considered qualified bidders for their own Leases.

               16.     If an Auction is held, the Landlords should be permitted to attend upon

notice to the Debtors of the attendees’ names and contact information.




                                                 7
              Case 20-10166-JTD             Doc 209        Filed 02/19/20         Page 8 of 16




II.    THE ASSIGNMENT PROCEDURES

       (A)     The Landlords Must Have Sufficient Time To Analyze And Object To The
               Adequate Assurance Of Future Performance Information Of The Proposed
               Assignee

               17.      The Assignment Procedures state that the Landlords must object to “the

proposed form of adequate assurance of future performance” by March 14, 2020 at 4:00 p.m.

(ET).11 Presumably the Debtors intend this to be the deadline for landlords to object to the

adequate assurance information of the Stalking Horse Purchasers, and, if so, the Assignment

Procedures should specify as such. To provide the Landlords with sufficient time to review and

potentially object, the Assignment Procedures should further state that the Debtors will provide

to Landlords and their counsel, via email, Adequate Assurance Information12 for the Stalking

Horse Purchasers by February 21, 2020, at 4:00 p.m. (ET).

               18.      The Assignment Procedures state that the Landlords must object to

adequate assurance of future performance information no later than two (2) business days after

the conclusion of the Auction, and before the start of the Sale Hearing.13 Presumably the

Debtors intend this to be the deadline for landlords to object to the adequate assurance

information of non-stalking horse purchasers, and, if so, the Assignment Procedures should

specify as such. The Assignment Procedures state that the Debtors will provide the Landlords

with the Successful Bidder’s assurance of future performance information by March 24, 2020.14

There is no reason why the Landlords should have to wait until after the Auction to receive the

Qualified Bidders’ adequate assurance information. The Assignment Procedures should state




11
       See ¶ 19 of proposed global bid procedures order at Exhibit A to Motion.
12
       As defined in Section I(A), above.
13
       See ¶ 19 of proposed global bid procedures order at Exhibit A to Motion.
14
       See ¶ 17 of proposed global bid procedures order at Exhibit A to Motion.

                                                       8
              Case 20-10166-JTD             Doc 209        Filed 02/19/20         Page 9 of 16




that the Debtors will provide to Landlords and their counsel, via email, Adequate Assurance

Information for all Qualified Bidders no later than twenty-four (24) hours after the Bid Deadline.

               19.      The Debtors propose conducting an Auction on March 24, 2020 at 10:00

a.m. (ET) and filing a notice of Successful Bidder the same day, at the conclusion of the Auction.

Objections to the adequate assurance of future performance of a Successful Bidder are due

before the Sale Hearing (which the Debtors seek to schedule for March 26, 2020 at a time to be

determined).15 This means the Landlords will have only one full business day after learning the

identity of the Successful Bidder to assess the Proposed Assignee and prepare an objection. As

such, the Landlords will be forced to complete the following tasks in that extremely expedited

timeframe: (i) assess any Proposed Assignee(s) and related adequate assurance information; (ii)

determine whether the Proposed Assignee(s)’ use of the Leased Premises will violate any radius,

use, location, or exclusivity provisions in the Leases; (iii) conduct discovery; (iv) draft an

objection; and (v) prepare for a contested hearing. This timeline provides an inadequate window

during which the Landlords must assess the Proposed Assignee(s) and its adequate assurance

information and determine if an objection must be brought. The Landlords request additional

time to file their objections and propose that such objections be due before or at the time of the

Sale Hearing, which the Landlords propose extending to March 31, 2020. This will still give the

Landlords only four (4) full business days to assess the adequate assurance information and

prepare an objection, if necessary, which the Landlords assert appropriately balances the harms

to the Landlords and these estates.

               20.      Accordingly, the Landlords propose the following schedule concerning the

assumption and assignment of leases:



15
       See ¶ 19 of proposed global bid procedures order at Exhibit A to Motion.

                                                       9
             Case 20-10166-JTD         Doc 209        Filed 02/19/20   Page 10 of 16




                Date                                                Event
 February 21, 2020 at 4:00 p.m. (ET)      • Debtors provide Landlords with Cure Notice
                                          • Debtors provide Landlords with Adequate
                                          Assurance Information of Stalking Horse Purchasers
 March 14, 2020 at 4:00 p.m. (ET)         • Deadline to object to cure
                                          • Deadline to object to Adequate Assurance
                                          Information of Stalking Horse Purchasers
 March 19, 2020 at 4:00 p.m. (ET)         • Bid Deadline
 March 20, 2020 at 4:00 p.m. (ET)         • Debtors provide Landlords with Adequate
 (24 hours after Bid Deadline)            Assurance Information of all Qualified Bidders
 March 24, 2020 at 10:00 a.m. (ET)        • Auction
 Conclusion of Auction                    • Debtors to file notice of Successful Bidder
 March 31, 2020 (time TBD)                • Sale Hearing
                                          • Deadline to object to Adequate Assurance
                                          Information of Successful Bidder

               21.    The Landlords request that to the extent a landlord seeks to contest the

assignment of its lease, the Sale Hearing should only be a status conference with respect to such

contested lease assumption and assignment issues, if those issues can even be determined at that

time, and an evidentiary hearing, if necessary, should be scheduled to occur no sooner than

twenty-one (21) days after the Sale Hearing, according to the Court’s availability.

               22.    Bankruptcy Rules 7026 and 7028 through 7037, made applicable to

contested matters by Bankruptcy Rule 9014, will apply if the Landlords object to the Proposed

Assignee and timely notify the Debtors. Therefore, at a minimum, the Landlords should receive

an expedited discovery period of fourteen (14) days or, in the alternative, a status conference at

the Sale Hearing to determine an expedited discovery schedule. After the close of the discovery

period, the Landlords should have an additional four (4) days within which they may file a

supplemental objection to the proposed assignment.

               23.    In the event of a contested assignment, the Landlords request that the

Debtors be required to immediately provide a list of any known witnesses that would testify and




                                                 10
             Case 20-10166-JTD        Doc 209        Filed 02/19/20   Page 11 of 16




a list of any known exhibits that would be put into evidence by the Debtors and/or the Proposed

Assignee.

III.   THE CURE PROCEDURES

       (A)     The Debtors Or Any Proposed Assignee Must Be Responsible For Year-End
               Adjustments And Reconciliations

               24.    To the extent that rent, attorneys’ fees, interest, and/or other charges

continue to accrue, and/or the Landlords suffer other pecuniary losses with respect to the Leases,

the Landlords hereby reserve the right to include in their asserted cure amounts year-end

adjustments, including, without limitation, adjustments for 2019 and 2020 (the “Adjustment

Amounts”), which have not yet been billed or have not yet become due under the terms of the

Leases. The Debtors or the Proposed Assignee must be responsible to satisfy the Adjustment

Amounts, if any, when due in accordance with the terms of the Leases, regardless of when such

Adjustment Amounts were incurred.

       (B)     Undisputed Cure Amounts Should Be Paid On The Effective Date Of
               Assignment And Disputed Cure Amounts Should Be Reserved Until A
               Resolution Is Reached

               25.    The proposed Cure Procedures do not provide a sufficient framework

under which disputed or undisputed cure amounts would be paid to the Landlords. The Cure

Procedures should explicitly provide that any undisputed cure amounts must be paid to the

applicable Landlord on the effective date of the assignment of that Landlord’s lease(s). The Cure

Procedures should also provide that any disputed cure amounts must be reserved, in cash, at the

highest amount asserted, pending an out-of-court resolution or judicial proceedings.

               26.    The Cure Procedures provide that cure disputes will be determined at the

Sale Hearing if the parties cannot consensually resolve the dispute. Instead, the Cure Procedures

should provide that upon written notice by a Landlord to the Debtors, a hearing on the disputed


                                                11
             Case 20-10166-JTD        Doc 209        Filed 02/19/20   Page 12 of 16




cure amount will take place at the next scheduled hearing date, as long as there are seven (7)

calendar days or more from the date of the notice to the hearing date. If there are less than seven

(7) calendar days until the next hearing date, the hearing on the disputed cure amount will take

place at the following scheduled hearing date. Once the disputed portion of the cure amount is

resolved, it should be paid to the applicable Landlord within seven (7) calendar days.

                  JOINDER IN OBJECTIONS OF OTHER LANDLORDS

               27.    To the extent not inconsistent with this Objection, the Landlords join in

the objections to the Motion asserted by other landlords and contract counterparties.

                                RESERVATION OF RIGHTS

               28.    The Landlords reserve their rights to amend and/or supplement this

Objection and to raise any additional objections to the Motion at any hearings to consider the

Motion.

               29.    The Landlords also reserve their rights to object to the assumption and

assignment of the Leases on any basis, including, without limitation, that the Debtors or any

Proposed Assignee(s) have failed to provide adequate assurance of future performance.




                                                12
             Case 20-10166-JTD         Doc 209        Filed 02/19/20   Page 13 of 16




               WHEREFORE, the Landlords respectfully request that the Court enter an order

(i) denying the Motion unless it is modified as requested herein; and (ii) granting such other and

further relief as this Court deems just and proper.

Dated: February 19, 2020
       New York, New York


                                              KELLEY DRYE & WARREN LLP


                                              By: /s/ Robert L. LeHane
                                              Robert L. LeHane, Esq.
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                                              Counsel to Benderson Development Co., LLC,
                                              Regency Centers, L.P., SITE Centers Corp., and
                                              TLM Realty Corp.




                                                 13
            Case 20-10166-JTD         Doc 209     Filed 02/19/20     Page 14 of 16




                                         EXHIBIT A


Benderson Development Co., LLC
Store No.          Mall Name                   Location                      Landlord
39         Gateway Shoppes               North Naples, FL        WR-I Associates LTD
TBD        Jacaranda Plaza               Venice, FL              7978 Associates VIII, LLC
33         Siesta                        Sarasota, FL            Siesta Retail, Inc.
TBD        Town Center                   W. Port St. Lucie, FL   Benderson-Robinson


Regency Centers, L.P.
Store No.           Mall Name                  Location                     Landlord
45          Unigold Shopping Center      Winter Park, FL         IRT Partners L.P.
25          Alafaya Village              Orlando, FL             TBD


SITE Centers Corp.
Store No.           Mall Name                  Location                  Landlord
TBD         Cypress Trace Mall           Ft. Meyers, FL          DDRT Cypress Trace LLC
TBD         Collection at Brandon Blvd   Brandon, FL             DDR KM Shopping Center LLC


TLM Realty Corp.
Store No.          Mall Name                   Location                    Landlord
28          580 Atlantic Blvd            Neptune Beach, FL       Neptune Beach, FL Realty LLC
               Case 20-10166-JTD          Doc 209       Filed 02/19/20      Page 15 of 16




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                                Chapter 11

LUCKY’S MARKET PARENT                                 Case No. 20-10166 (JTD)
COMPANY, LLC, et al.,1
                                                      (Jointly Administered)
                         Debtors.


                                    CERTIFICATE OF SERVICE

                 I, Michael W. Reining, hereby certify that on February 19, 2020, in addition to the

notice and service provided through the Court’s CM/ECF system, I caused to be served true and

correct copies of the foregoing document upon the parties listed in the attached schedule in the

manner indicated.

                                                          /s/ Michael W. Reining
                                                          Michael Reining




1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are Lucky’s Market Parent Company, LLC (2055), Lucky’s Farmers Market
         Holding Company, LLC (5480), Lucky’s Market Operating Company, LLC (7064), LFM Stores LLC
         (3114), Lucky’s Farmers Market, LP (0828), Lucky’s Farmers Market Resource Center, LLC (7711),
         Lucky’s Market Holding Company 2, LLC (0607), Lucky’s Market GP 2, LLC (9335), Lucky’s Market 2,
         LP (8384), Lucky’s Market of Longmont, LLC (9789), Lucky’s Farmers Market of Billings, LLC (8088),
         Lucky’s Farmers Markets of Columbus, LLC (3379), Lucky’s Farmers Market of Rock Hill, LLC (3386),
         LFM Jackson, LLC (8300), Lucky’s Farmers Market of Ann Arbor, LLC (4067), Lucky’s Market of
         Gainesville, LLC (7877), Lucky’s Market of Bloomington, LLC (3944), Lucky’s Market of Plantation,
         LLC (4356), Lucky’s Market of Savannah, GA, LLC (1097), Lucky’s Market of Traverse, City, LLC
         (2033), Lucky’s Market of Naples, FL, LLC (8700), and Sinoc, Inc. (0723).
.
             Case 20-10166-JTD        Doc 209   Filed 02/19/20    Page 16 of 16




                                          EXHIBIT A

                                         SERVICE LIST

Parties Served Via First-Class Mail

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Attn: Timothy Fox
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